                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                        Case No. __________________________

                      Plaintiff,                 COUNT ONE:
                                                 Conspiracy to Distribute a Controlled
       v.                                        Substance
                                                 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846
JASON P. SUMMERS,
                                                 NLT: 10 Years Imprisonment
[DOB: 06/08/1983]
                                                 NMT: Life Imprisonment
                      Defendant.                 NMT: $10,000,000 Fine
                                                 NLT: 5 Years Supervised Release
                                                 Class A Felony

                                                 COUNT TWO:
                                                 Discharging a Firearm in Relation to a
                                                 Drug Trafficking Crime
                                                 18 U.S.C. §§ 924(c)(1)(A)
                                                 NLT: 10 Years Imprisonment (Consecutive)
                                                 NMT: Life Imprisonment
                                                 NMT: $250,000 Fine
                                                 NMT: 5 Years Supervised Release
                                                 Class A Felony

                                                 COUNTS THREE and FOUR:
                                                 Felon in Possession of a Firearm(Ct. 3)
                                                 Felon in Possession of Ammunition(Ct. 4)
                                                 18 U.S.C. §§ 922(g)(1) and 924(a)(2)
                                                 NMT: 10 Years Imprisonment
                                                 NMT: $250,000 Fine
                                                 NMT: 3 Years Supervised Release
                                                 Class C Felony


                                                 $100 Mandatory Special Assessment per Count

                                     INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                        COUNT ONE

       Beginning on a date unknown to the Grand Jury, but from at least in or about February

2015, and continuing through on or about August 19, 2015, in the Western District of Missouri,
the defendant, JASON P. SUMMERS, did knowingly and intentionally combine, conspire,

confederate and agree with other persons, known and unknown to the Grand Jury, to distribute

500 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, contrary to the provisions of Title 21,

United States Code, Sections 841(a)(1) and (b)(1)(A), all in violation of Title 21, United States

Code, Section 846.

                                         COUNT TWO

        Beginning on a date unknown to the Grand Jury, but from on or about July 22, 2015, and

continuing through on or about August 19, 2015, in the Western District of Missouri, the

defendant, JASON P. SUMMERS, during and in relation to, and, in furtherance of a drug

trafficking crime for which he may be prosecuted in a court of the United States, that is,

conspiracy to distribute methamphetamine, as charged in Count One in this Indictment, did

knowingly use, carry, possess, brandish, and discharge a firearm, to wit, a SCCY Industries,

Model CPX-1, 9mm pistol, Serial Number 209231, contrary to the provisions of Title 18, United

States Code, Section 924(c)(1)(A).


                                        COUNT THREE

       On or about August 19, 2015, in the Western District of Missouri, the defendant, JASON

P. SUMMERS, having been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess, in and affecting commerce, a firearm, to wit, a

SCCY Industries, Model CPX-1, 9mm pistol, Serial Number 209231, which had been

transported in interstate commerce, contrary to the provisions of Title 18, United States Code,

Sections 922(g)(1) and 924(a)(2).




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                                        COUNT FOUR

       On or about August 19, 2015, in the Western District of Missouri, the defendant, JASON

P. SUMMERS, having been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess, in and affecting commerce, ammunition, to wit, five

(5) rounds of Federal Cartridge Company, .380 caliber ammunition; and seventy-nine (79)

rounds of Remington, 9mm ammunition, which had been transported in interstate commerce,

contrary to the provisions of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

                                                    A TRUE BILL.


       9/8/15                                            /s/ Helen A. Chaffin
DATE                                                FOREPERSON OF THE GRAND JURY


       /s/ Rudolph R. Rhodes, IV
Rudolph R. Rhodes, IV, #39310
Assistant United States Attorney
Narcotics & Violent Crimes Unit
Western District of Missouri




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